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                                     STATES DISTRICT COURT
                                       DISTRICT OF MAINE


ROSEMARY S. KELLEY,                                  )
                                                     )
                       Plaintiff,                    )
                                                     )
v.                                                   )
                                                     )       Docket No. ________________
MARY MAYHEW and                                      )
STATE OF MAINE, DEPARTMENT OF                        )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                       Defendants.                   )


                                     NOTICE OF REMOVAL

To:     The Judges of the United States District Court for the District of Maine.

        Defendants State of Maine, Department of Health and Human Services (the

“Department”) and Mary Mayhew, by and through counsel, hereby give notice of removal

pursuant to 28 U.S.C. §§ 1441, et seq. of a civil action commenced in the Superior Court of

Maine, Kennebec County, styled Rosemary S. Kelley v. Mary Mayhew and State of Maine,

Department of Health and Human Services, AUGSC-CV-2012-00289. In support of removal,

the Defendants respectfully state:

        1.     On November 26, 2012, the Office of the Attorney General received the

Summons and Complaint in the above matter via United States mail from counsel for Plaintiff.

Deputy Attorney General Paul Stern accepted service on behalf of both Defendants on December

11, 2012

        2.     The Complaint sets forth three counts. The first count alleges a claim for

violation of the Maine Human Rights Act, 5 M.R.S. § 4551 et seq. The second count alleges
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violation of the Americans with Disabilities Act, 42 U.S.C. § 12132. The third count alleges

violation of Section 504 of the Rehabilitation Act, 29 U.S.C. § 794.

       3.      The United States District Court has original jurisdiction over Plaintiff’s claims

under the Americans with Disabilities Act and the Rehabilitation Act, which are federal

questions arising under the laws of the United States. 28 U.S.C. § 1331. Because Plaintiff’s

ADA and Rehabilitation Act claims arise under the laws of the United States, the Complaint is

now removable. 28 U.S.C. § 1441(b). Because the Plaintiff’s ADA and Rehabilitation Act

claims are now removable, the remaining state law claim is also removable. 28 U.S.C. §

1441(c).

       4.      The United States District Court for the District of Maine embraces the place

within which this action is currently pending in the Superior Court. Plaintiff resides in Knox

County, and the actions complained of took place in Knox County. Pursuant to Local Rule 3(b),

the case could be removed to either Bangor or Portland.

       5.      The Complaint is dated November 17, 2012, and was filed with the Kennebec

County Superior Court on November 19, 2012. The Office of the Attorney General received a

copy of the complaint by mail on behalf of the Department and Commissioner Mayhew on

November 26, 2012. Thirty days have not expired since the Defendants’ receipt of the

Complaint.

       6.      Pursuant to 28 U.S.C. § 1446, removal is timely filed within thirty days after the

receipt by the Defendants, through service or otherwise, of the initial pleading setting forth the

removable claims for relief.

       7.      Pursuant to 28 U.S.C. § 1446, the Defendants this day are sending a copy of the

Notice of Removal to the Kennebec County Superior Court and to Plaintiff’s counsel.




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       8.      Attached to this Notice of Removal as Exhibit A is the Declaration of Assistant

Attorney General (“AAG”) Kelly L. Turner. Exhibits 1 and 2 of her Declaration are true copies

of all documents filed in the Kennebec County Superior Court in the case of Rosemary S. Kelley

v. Mary Mayhew and State of Maine, Department of Health and Human Services, Docket No.

AUGSC-CV-2012-00289.

       Based on the foregoing, the Defendants hereby give notice of the removal of the above-

captioned action from the Maine Superior Court, Kennebec County, to the United States District

Court for the District of Maine.

DATED: December 21, 2012                   Respectfully submitted,

                                           WILLIAM J. SCHNEIDER
                                           Attorney General


                                           /s/ Kelly L. Turner
                                           KELLY L. TURNER
                                           Assistant Attorney General
                                           Office of the Attorney General
                                           Six State House Station
                                           Augusta, Maine 04333-0006
                                           Tel. (207) 626-8552
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                                           kelly.l.turner@maine.gov




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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 21, 2012, I electronically filed this Notice of Removal

with attached exhibit, with the Clerk of the Court using the CM/ECF system, and mailed a copy

to the Plaintiff’s counsel and the Kennebec County Superior Court at the following addresses:

       M. Elizabeth Gallie, Esq.                    Kennebec County Superior Court
       Maine Center on Deafness                     95 State Street
       68 Bishop Street                             Augusta, ME 04330
       Portland, ME 04103
       BGallie@mcdmaine.org

                                                    /s/ Kelly L. Turner
                                                    KELLY L. TURNER
                                                    Assistant Attorney General
                                                    Office of the Attorney General
                                                    6 State House Station
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